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       EXHIBIT D
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                                                                       Page 1

 1
 2      IN THE UNITED STATES BANKRUPTCY COURT
 3      FOR THE DISTRICT OF DELAWARE
 4      Chapter 11
 5      Case No. 14-10979 (CSS)
 6      -----------------------------------x
 7      In Re:
 8        ENERGY FUTURE HOLDINGS CORP., et al.,
 9                          Debtors.
        -----------------------------------x
10                              October 7, 2014
11                              9:34 a.m.
12
13             Videotaped Deposition of ANTHONY
14      HORTON, pursuant to Notice, held at the
15      offices of Ropes & Gray LLP, 1211 Avenue
16      of the Americas, New York, New York,
17      before Todd DeSimone, a Registered
18      Professional Reporter and Notary Public of
19      the State of New York.
20
21
22
23
24
25

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                                            Page 14                                             Page 16
 1             HORTON                                  1             HORTON
 2 Q.        You testified you reviewed them           2 Q.        And you said you were reviewing
 3 to see if it was something you felt would           3 Evercore and Kirkland's development of
 4 work in the context of an M&A process.              4 those procedures?
 5 Are you familiar with M&A processes?                5 A.        That's correct.
 6 A.        I have some experience in M&A.            6 Q.        Did you participate in any
 7 For example, I sold TXU Gas, TXU                    7 board meetings regarding these procedures?
 8 Australia, TXU, the fuel company. I did             8 A.        I listened in to all the board
 9 the 20 percent sale-down of Oncor. I was            9 meetings, or I attended all the board
10 involved in the sale of the company back           10 meetings, as these were being developed.
11 in '07 as part of the LBO. I have sold             11 There were at least a couple of board
12 some generation assets as well.                    12 meetings that I recall discussing the path
13          So I have generally worked on,            13 of whether we should go through -- go down
14 you know, large transactions. I'm not an           14 this path of these bidding procedures,
15 M&A expert, as my title says, I'm the              15 this timeline.
16 treasurer, but I have been involved on the         16 Q.        Do you recall any board votes?
17 deal teams somewhat in a lead capacity on          17 A.        There were no board votes that
18 those transactions.                                18 I recall.
19 Q.        And those transactions were all          19 Q.        Do you recall whether those
20 either sales or purchases by the                   20 were board meetings of EFH?
21 enterprise TXU; is that correct?                   21 A.        My view was it was an EFH board
22 A.        Yes, sir.                                22 meeting. It had members of the TCH board
23 Q.        And were any of those                    23 present, for example, the independent
24 transactions distressed transactions?              24 director of TCH, the independent director
25 A.        The only transaction that I              25 of EFIH.
                                            Page 15                                             Page 17
 1             HORTON                                  1             HORTON
 2 was, and I was remotely related or                  2 Q.        So there were single meetings
 3 involved in, was the sale of TXU Europe as          3 where all the directors of the three
 4 it was beginning to go into                         4 entities were present?
 5 administration, but I would say I was just          5 A.        I can't say all the directors.
 6 remotely involved in that transaction.              6 I know that there were members of the TCH
 7 Q.        Did TXU Europe have separate              7 board. There were members -- it was
 8 debt?                                               8 members of the EFH board and of the EFIH
 9 A.        Yes.                                      9 board. I can't tell you who all was
10 Q.        Do you know how much that was?           10 there. I just don't know.
11 A.        I'm doing this from memory, and          11 Q.        Do you recall any separate
12 that occurred in 2002, but my recollection         12 meetings of the EFIH board that you
13 it was around 4 billion pounds, something          13 attended?
14 like that.                                         14 A.        No, sir.
15 Q.        Do you know whether those                15 Q.        Any that you attended
16 creditors were paid in full?                       16 telephonically?
17 A.        I am not aware of that.                  17 A.        No, sir.
18 Q.        That was the only one of those           18 Q.        Are you aware of whether any
19 transactions that was bankruptcy or                19 separate meetings occurred of those
20 distressed related?                                20 boards?
21 A.        Yes, sir.                                21 A.        I am not aware.
22 Q.        Would you consider the role you          22 Q.        Do you have any reason to
23 had with respect to the bidding procedures         23 believe that separate meetings of those
24 a role of reviewing them primarily?                24 boards occurred?
25 A.        Yes, sir.                                25 A.        I have no knowledge of that.
                                                                                     5 (Pages 14 - 17)
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                                                Page 18                                               Page 20
 1            HORTON                                       1             HORTON
 2 Q.       How would you describe                         2 David Ying and Paul Keglevic. It says
 3 Mr. Keglevic's role with respect to these               3 "Thanks." I see Mr. Ying's e-mail, it
 4 procedures in comparison to yours?                      4 appears to be to John, giving him talking
 5 A.       I think it would be similar to                 5 points.
 6 mine, but you would need to ask him.                    6 Q.         Do you see the second talking
 7 Q.       Would you say your role was                    7 point that Mr. Ying lists that starts with
 8 more detailed and day to day than his was?              8 "Our plan to reorganize EFH has always"?
 9 A.       I don't think so.                              9 A.         Uh-huh.
10 Q.       Who is Charles Cremens?                       10 Q.         Just take a look at that bullet
11 A.       He is the independent board                   11 point.
12 member at EFIH.                                        12 A.         Yes, absolutely.
13 Q.       Have you ever spoken with him                 13 Q.         Now, there is a grammar error
14 one on one regarding these procedures?                 14 in that it says "contemplates" instead of
15 A.       No, sir.                                      15 "contemplated," but that is fine.
16 Q.       Have you ever spoken with him                 16 A.         You noticed. I didn't.
17 regarding these procedures outside a board             17 Q.         But does this talking point
18 meeting?                                               18 indicate that the plan to reorganize EFH
19 A.       No, sir.                                      19 has always contemplated a tax-free spin
20         (Horton Exhibit 3 marked for                   20 transaction for TCEH?
21 identification.)                                       21 A.         "Always" is an extreme use of
22 Q.       Mr. Horton, do you recognize                  22 grammar of course. You guys are familiar
23 this e-mail?                                           23 with the process that we went through, you
24 A.       I do.                                         24 know, 12, 14 months of trying to, Project
25 Q.       Do you see there at the top                   25 Olympus, of trying to keep the companies
                                                Page 19                                               Page 21
 1            HORTON                                       1            HORTON
 2 this was sent from David Ying to you and                2 together to avoid, you know, a
 3 Michael Carter?                                         3 deconsolidation tax. So to use that term
 4 A.       That's correct.                                4 "always" I think is kind of an
 5 Q.       And who is Michael Carter?                     5 overstatement.
 6 A.       He is the senior vice president                6 Q.        Following the company's work on
 7 of corporate planning at EFH.                           7 Project Olympus, was it the company's
 8 Q.       So he is one of your colleagues                8 intent always to do a tax-free spin
 9 who works directly for Mr. Keglevic?                    9 transaction?
10 A.       Yes, sir.                                     10 A.        Following Project Olympus, as I
11 Q.       And what was his role in                      11 recall, there was a lot of work done by
12 developing these procedures?                           12 our legal advisors, tax advisors, on
13 A.       I don't know.                                 13 alternative transactions and structures,
14 Q.       Did you ever communicate with                 14 and ultimately the perspective has been
15 him about these procedures?                            15 that we would do -- and obviously we filed
16 A.       I did not.                                    16 the tax memorandum that suggests that we
17 Q.       Do you recall getting this                    17 would do a tax-free spin of TCEH and that
18 e-mail at the time in July 26th -- on July             18 we would contemplate a sale of the
19 26th?                                                  19 restructured E side of the house. So I
20 A.       I remember the approximate                    20 think this is a generalization and
21 date, yes.                                             21 overstatement by Mr. Ying.
22 Q.       And you see the e-mail below is               22 Q.        The tax-free spin of TCEH and
23 from John Young to David Ying and Paul                 23 the sale of EFH, or of Oncor as you
24 Keglevic, the next e-mail down?                        24 describe it, is the so-called optimal deal
25 A.       I see it from John Young to                   25 structure of the debtors that is described
                                                                                          6 (Pages 18 - 21)
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                                            Page 22                                               Page 24
 1             HORTON                                  1             HORTON
 2 in the bidding procedures motion; is that           2 Q.        Did you provide comments on
 3 right?                                              3 that draft?
 4 A.        I don't know if it is the                 4 A.        I did not.
 5 optimal, you know, but it is certainly I            5 Q.        Now, going back to Mr. Ying's
 6 think our preferred path given, if you              6 e-mail with the talking points, these were
 7 read the tax memorandum, just the tax               7 talking points he provided to Mr. Young to
 8 consequences of a taxable transaction.              8 reach out to prospective bidders; is that
 9          So, you know, it is our                    9 correct?
10 experience and our belief that it is               10 A.        That's correct.
11 better for the estate and to maintain the          11 Q.        And do you know how many
12 value of the estate to not pay tax, to             12 bidders Mr. Young reached out to?
13 have a tax-free transaction that we                13 A.        I don't know the precise
14 believe is approvable and confirmable.             14 number. I would say four to six bidders.
15 Q.        And that's the EFH estate; is            15 Q.        And why was Mr. Young reaching
16 that correct?                                      16 out to bidders at that time?
17 A.        It is the total estate.                  17 A.        I believe the rationale behind
18 Q.        Is there any difference in the           18 that is that Mr. Young had relationships
19 amount of tax that each of the estates             19 with these counterparties and it was a
20 would pay?                                         20 good way to open the door to the process
21 A.        Again, you would have to refer           21 itself.
22 to the tax memorandum which outlines if            22 Q.        And so would you say he was
23 you -- and it depends on what scenario you         23 making the first call to those four to six
24 are talking about. In the tax memorandum,          24 parties?
25 they talk about a deconsolidation, TCH             25 A.        I would suggest so, but that's
                                            Page 23                                               Page 25
 1             HORTON                                  1             HORTON
 2 being sold, EFIH or E side being sold, and          2 speculation.
 3 the tax implications, potential tax                 3 Q.        Do you know whether Mr. Young
 4 implications of that.                               4 called potential investors other than the
 5 Q.        Are those tax implications                5 four to six that you say he had
 6 different for the different estates?                6 relationships with?
 7 A.        I think, again, you would need            7 A.        I'm not aware of others.
 8 to talk to the tax lawyers about it.                8 Q.        Do you know whether Mr. Young
 9 Conceptually from my perspective, my                9 used these talking points?
10 chair, I mean, it is the same -- it is the         10 A.        I do not.
11 same consequence.                                  11 Q.        Did you ever hear back any --
12 Q.        Did you review the tax                   12 without disclosing the contents of what he
13 memorandum before it was filed?                    13 may have told you, did you ever hear back
14 A.        I did.                                   14 any report on his conversations with those
15 Q.        Did you play a role in the               15 bidders?
16 development of the tax memorandum?                 16 A.        I did not.
17 A.        I did not.                               17 Q.        Did Mr. Young ask for these
18 Q.        What was the first time you saw          18 talking points to be prepared?
19 a draft of it, without disclosing the              19 A.        I do not know that.
20 contents of the draft, before it was               20 Q.        The request to have Evercore
21 filed?                                             21 prepare them did not come through you?
22 A.        I can't recall.                          22 A.        No, sir.
23 Q.        Was it more than a week before           23 Q.        Who is Evercore's primary
24 it was filed?                                      24 contact inside the company for these
25 A.        Yes.                                     25 bidding procedures?
                                                                                      7 (Pages 22 - 25)
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                                                Page 46                                               Page 48
 1             HORTON                                      1             HORTON
 2 Q.        So sitting here today, you                    2 nature and the risk that is outlined in
 3 don't know whether the transaction                      3 the tax memorandum.
 4 proposed by the bidding procedures is                   4 Q.        Why do the TCEH first lien
 5 entirely contingent on the consent of the               5 lenders care about the tax-free nature of
 6 TCEH first lien lenders?                                6 the transaction at EFH?
 7          MS. O'CONNOR: I object to                      7 A.        I think there is risk around
 8 form.                                                   8 the timing of exiting bankruptcy. There
 9 A.        My belief is it does require                  9 is risk of changes in law, changes in
10 their consent but I would need to and feel             10 regulations. Again, it is outlined in the
11 more comfortable getting further                       11 tax memorandum.
12 confirmation of that. That's my                        12 Q.        Mr. Horton, are you familiar
13 recollection.                                          13 with what is called the competitive tax
14 Q.        Does the company have that                   14 sharing agreement in the tax memo?
15 consent today?                                         15 A.        I'm aware of it.
16          MS. O'CONNOR: I object to                     16 Q.        Did you play any role in
17 form.                                                  17 drafting or formulating that when it was
18 A.        Again, I do not think at this                18 put into place in 2012?
19 point in time that we have a transaction               19 A.        No, sir.
20 to present to the TCH side to say is                   20 Q.        In your view, do claims that
21 this -- or the E side -- to say is this                21 EFH might have against EFIH under that tax
22 transaction a transaction we want to                   22 sharing agreement give rise to a conflict
23 execute. I know that a point in time as                23 between EFH and EFIH?
24 part of the RSA we had agreement with a                24 A.        I'm not aware of any conflicts.
25 group of TCH first lien holders that they              25 Q.        Do you recall in the board
                                                Page 47                                               Page 49
 1             HORTON                                      1            HORTON
 2 would support a tax-free spin.                          2 meetings that you attended any debate or
 3 Q.        That was a minority of the TCH                3 discussion about conflicts between the
 4 first lien lenders; is that correct?                    4 estates?
 5 A.        It was a minority, yes.                       5 A.        Not as part of these bidding
 6 Q.        What about entering into this                 6 procedures, no.
 7 process and selling the Oncor asset                     7         (Horton Exhibit 4 marked for
 8 through a restructuring at EFH would make               8 identification.)
 9 it more likely that the TCEH first lien                 9         MS. O'CONNOR: This is from --
10 lenders would allow confirmation of a plan             10         MR. MARTIN: It is from your
11 at TCEH?                                               11 data room.
12          MS. O'CONNOR: I object to                     12         MS. O'CONNOR: Did you give us
13 form.                                                  13 notice that you were planning to use this
14 A.        Would you mind repeating the                 14 in the deposition? Because if not, that's
15 question?                                              15 one of the terms of the NDA is if you have
16 Q.        Sure.                                        16 access to the data room you are supposed
17          What about entering into this                 17 to give us notice so that we can get it
18 bid process and selling the Oncor asset                18 Bates numbered to see if it is appropriate
19 through a restructuring at EFH would make              19 for the --
20 it more likely that the TCEH first lien                20         MR. MARTIN: It is Bates
21 lenders would allow confirmation of a plan             21 numbered.
22 at TCEH?                                               22         MS. O'CONNOR: I'm sorry, I
23 A.        What about what specific terms,              23 see.
24 is that what you are asking me about this              24         MR. MARTIN: You turned this
25 transaction? I think it is the tax-free                25 over to us. No problem.
                                                                                         13 (Pages 46 - 49)
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                                           Page 54                                               Page 56
 1            HORTON                                  1            HORTON
 2 A.       No, sir.                                  2 that from the debtor's perspective, they
 3 Q.       Did you ever discuss with                 3 believe the stalking horse process
 4 Evercore conversations they had with               4 provides a one-way option for the company?
 5 bidders regarding tax considerations?              5 A.       Our intent is, through these
 6 A.       I've had conversations with               6 bidding processes and the procedures, is
 7 Evercore regarding the tax structure, yes.         7 to get the lowest cost option that we
 8 Q.       More specifically, though, have           8 possibly can for the estate to lock in as
 9 you ever gotten reports from Evercore              9 much certainty as we possibly can for the
10 about what the bidders are saying about           10 estate of a transaction at the highest
11 the tax considerations?                           11 value.
12 A.       I have no -- have had no                 12         So we are trying to create a
13 conversations with Evercore regarding what        13 floor. We are going to try to provide as
14 bidders are saying about the tax structure        14 much certainty as we possibly can. We
15 and tax consideration. I had                      15 will bring that to the court. There will
16 conversations with Sesh regarding him             16 be a hearing. Everyone will have an
17 reaching out to counterparties and                17 opportunity to review that stalking horse,
18 informing them that we were open to all           18 the terms and conditions, and at that
19 forms and structures and would review             19 point in time hopefully we will have
20 those and evaluate those seriously.               20 brought to the estate a very low-cost
21 Q.       Did you do anything other than           21 option to avoid the market risk as we go
22 that generalized statement in having him          22 through the regulatory process that's
23 reach out to people and make that                 23 required to get this transaction approved
24 statement?                                        24 and to continue to work through the
25 A.       That was the conversation we             25 confirmation issues through the bankruptcy
                                           Page 55                                               Page 57
 1            HORTON                                  1             HORTON
 2 had. I also had a conversation with David          2 and restructuring process.
 3 Ying, incidentally, that was along those           3 Q.        Does that mean that this is
 4 same lines of them reaching out to the             4 essentially an option for the company to
 5 counterparties. I can't recall if Will             5 sell to a buyer at a floor, if you can
 6 was going to be on those calls or not.             6 lock it in, if the TCEH first liens agree
 7 Q.       Did you ever have a                       7 to the tax-free spin?
 8 conversation like that with Mr. Hiltz?             8 A.        I think, again, ultimately we
 9 A.       I did not. I think I read in              9 are going to need the TCEH side of the
10 this e-mail Sesh is kind of spearheading          10 house to agree, the TCEH first lien
11 the coordination of the company and               11 lenders to agree to the tax-free
12 Evercore on this process. My main contact         12 structure.
13 is David Ying and Sesh at this point.             13 Q.        Is there an option in the
14 Q.       Not Mr. Hiltz?                           14 company's structure for EFIH to get out of
15 A.       At this point.                           15 whatever deal is signed up if there is no
16 Q.       And are you the principal day            16 tax-free spin?
17 to day person at the company managing this        17 A.        Yes, I believe so. I would
18 process?                                          18 like to verify that, but I believe so.
19 A.       Myself, along with other team            19          Again, we don't have a
20 members, are running due diligence and the        20 transaction today that is fully
21 data room and so forth.                           21 negotiated, and, again, it is a little bit
22 Q.       But you are the most senior              22 difficult to be doing this under
23 among those people which you described?           23 deposition, but our intent would be to
24 A.       That's correct.                          24 have as much optionality on our side of
25 Q.       Mr. Horton, would you agree              25 the table and to have as much certainty on
                                                                                    15 (Pages 54 - 57)
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                                                Page 66                                                  Page 68
 1            HORTON                                       1            HORTON
 2 conversation occurred?                                  2 used collectively more illustratively than
 3 A.       I don't know precisely. It                     3 specifically a debtor, a specific debtor.
 4 seems like the first part of August, you                4 More generally is probably the right word.
 5 know, but I'm doing this from very vague                5         MR. MARTIN: That's all I have.
 6 memory.                                                 6         THE VIDEOGRAPHER: We are now
 7 Q.       So why did the debtors                         7 going off the record at approximately
 8 ultimately decide not to use BofA Merrill               8 10:53 a.m., the end of disk one.
 9 as a second advisor on this?                            9         (Recess taken.)
10 A.       So Merrill, BofA Merrill, have                10         THE VIDEOGRAPHER: This is the
11 holdings at TCH, quite significant                     11 beginning of disk number two. We are
12 holdings at TCH in the DIP facilities as               12 going back on the record approximately
13 well as EFIH. They are market makers on                13 11:04 a.m.
14 both EFIH and TCH debt securities.                     14 EXAMINATION BY MR. SHORE:
15         And we felt that it would be                   15 Q.       Good morning, Mr. Horton. I'm
16 important for them to sell down those                  16 Chris Shore from White & Case on behalf of
17 positions, and the cost of them selling                17 the Ad Hoc Group of TCEH Unsecured Notes.
18 those down was more than any fees they                 18 A.       I have heard your name.
19 were going to make from us from the M&A                19 Q.       Good or bad?
20 side, so ultimately we released them.                  20 A.       It is great.
21 Q.       If you can go back to Exhibit 2               21 Q.       Good.
22 real quick.                                            22         Let me ask you a few questions
23 A.       The one you just handed me?                   23 about EFIH prior to the bankruptcy filing.
24 Q.       The big one, the motion.                      24         When did you first take a role
25         If you can go toward the back,                 25 with EFIH?
                                                Page 67                                                  Page 69
 1             HORTON                                      1             HORTON
 2 it is page 8 of the Bidding Procedures, it              2 A.        I think I have been the
 3 is labeled 15 of 24 at the top. It is                   3 treasurer of EFIH since day one,
 4 sort of halfway in.                                     4 Mr. Shore.
 5 A.        I got you. Okay.                              5 Q.        So 2007?
 6 Q.        You see the -- if you could                   6 A.        Yeah. That's when we formed
 7 just read the first paragraph there.                    7 it, so yeah.
 8          (Witness perusing document.)                   8 Q.        And I take it that as treasurer
 9 A.        Okay.                                         9 of EFIH you kept yourself fully apprised
10 Q.        You will see there that it says              10 of all the business metrics relating to
11 that the debtors will select the round two             11 EFIH?
12 bidder that has submitted the highest and              12 A.        Yes.
13 best bid to be the stalking horse bidder,              13 Q.        Prior to the filing date, had
14 if I paraphrased that correctly; is that               14 you ever heard of anybody within EFIH,
15 right?                                                 15 including the EFIH board -- well, let me
16 A.        Uh-huh.                                      16 make a definition here first.
17 Q.        Which debtor is going to                     17          EFIH, as you understand it, its
18 choose?                                                18 sole material asset is its indirect
19 A.        I think that would be a                      19 ownership in 80 percent of the stock of
20 decision that will ultimately be made by               20 Oncor, right?
21 the EFH board, but, look, you would need               21 A.        Oncor Electric Delivery
22 to talk to our general counsel and others              22 Holdings, yes.
23 who run the corporate governance of                    23 Q.        And I will refer to that as the
24 ultimately who would make that decision.               24 Oncor stake, okay?
25          But I think "the debtors" was                 25 A.        Not a problem.
                                                                                          18 (Pages 66 - 69)
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